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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 In re:                                                      Chapter 11
                           1
 USA GYMNASTICS,                                             Case No. 18-09108-RLM-11

                          Debtor.


          NOTICE OF RESCHEDULED SEPTEMBER 2019 OMNIBUS HEARING

          PLEASE TAKE NOTICE that the omnibus hearing in the above-captioned chapter 11 case

previously scheduled for September 19, 2019 at 1:30 p.m. (Prevailing Eastern Time) (the

“Omnibus Hearing”) has been rescheduled for September 18, 2019 at 1:30 p.m. (Prevailing

Eastern Time) in Room 329 of the United States Bankruptcy Court, 46 East Ohio Street,

Indianapolis, Indiana 46204.

          PLEASE TAKE FURTHER NOTICE that, to be presented at the Omnibus Hearing, any

motion, application, or other request for relief must filed by August 28, 2019 at 4:00 p.m.

(Prevailing Eastern Time), via the Court’s ECF system.

          PLEASE TAKE FURTHER NOTICE that a dial-in telephone number for interested parties

to participate in the Omnibus Hearing by conference call is 1-888-273-3658, passcode: 9247462#.

All callers shall keep their phones muted unless addressing the Court. All callers must identify

themselves and the party(ies) they represent when addressing the Court. Callers shall not place

their phones on hold during the Omnibus Hearing.




1 The last four digits of the Debtor’s federal tax identification number are 7871.
                                                                                The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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Dated: July 19, 2019                       Respectfully submitted,

                                           JENNER & BLOCK LLP

                                           By: /s/ Catherine Steege

                                           Catherine L. Steege (admitted pro hac vice)
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                                           Counsel for the Debtor




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